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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   BRANDON COLEMAN
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-08-306 EJG
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   BRANDON COLEMAN,                )
                                     )     Date: March 13, 2009
15                  Defendant.       )     Time: 10:00 a.m.
                                     )     Judge: Hon. Edward J. Garcia
16   _______________________________ )
17
18         It is hereby stipulated between the parties, Michael Beckwith,
19   Assistant United States Attorney, and Linda C. Harter, Chief Assistant
20   Federal Defender on behalf of Caro Marks, attorney for defendant
21   Brandon Coleman, that the status conference of February 13, 2009 be
22   vacated, and the matter be set for status conference on March 13, 2009
23   at 10:00 a.m.
24        The reason for the continuance is that Ms. Marks continues to
25   recover from her injuries and has suffered a recent unanticipated
26   setback.   She is now expected to return to the office the first week of
27   March, 2009. Ms. Marks will need additional time to meet with the
28   client once she returns to the office.
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 1         IT IS STIPULATED that the period from the signing of this Order up
 2   to and including March 13, 2009 be excluded in computing the time
 3   within which trial must commence under the Speedy Trial Act, pursuant
 4   to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 5   preparation of counsel.
 6   Dated: February 3, 2009
                                               Respectfully submitted,
 7
                                               DANIEL BRODERICK
 8                                             Federal Defender
 9                                             /s/ Linda C. Harter for
                                                ________________________
10                                             CARO MARKS
                                               Assistant Federal Defender
11                                             Attorney for Defendant
                                               BRANDON COLEMAN
12
13   Dated:     February 3, 2009
14                                             LARRY BROWN
                                               Acting United States Attorney
15
16                                              /s/ Michael Beckwith
                                               _________________________
17                                             MICHAEL BECKWITH
                                               Assistant U.S. Attorney
18
19
20                                        O R D E R
21   IT IS SO ORDERED.      Time is excluded from today’s date through and
22   including March 13, 2009 in the interest of justice pursuant to
23   18 U.S.C. §3161(h)(8)(B)(iv) [reasonable time to prepare] and Local
24   Code T4.
25   Dated: Feb. 3, 2009
26                                                   /s/ Edward J. Garcia
                                                     EDWARD J. GARCIA
27                                                   United States District Judge
28


     Stip & Order/Brandon Coleman             -2-
